


  It is ordered and adjudged by this court, that the judgment of the said Court of Appeals be, and the same hereby is, affirmed for the reason that the
   
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  election of the defendant in error by the board of education of the city school district of the city of West P'ark, for the year 1922, as clerk of that board, did not confer upon him any function of sovereignty or constitute him an officer within the prohibition of Section 20, Article II of the Constitution of Ohio. The board of education under the power conferred by Section 4781, General Code, having in good faith fixed his compensation at the amounts which are here sought to be recovered, the receipt thereof by the defendant in error was not unlawful.
 


   Judgment affirmed.
  


  Marshall, C. J., Robinson, Jones, Matthias, Day and Allen, JJ., concur.
 

  Wanamakee, J., not participating.
 
